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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

MARK CLARKE, SANDRA CLARKE,
DAVID CLARKE and JUAN SOLIS,

Defendants.                                               No. 08-30170-DRH

                                    ORDER

HERNDON, Chief Judge:

              Now before the Court is the Government’s April 4, 2011 motion to

continue trial (Doc. 481). The Government moves to continue the trial as two co-

defendants, Sandra Clarke and Juan Solis, remain fugitives and their whereabouts

are unknown. Clearly, the Court finds that under the circumstances a continuance

is warranted. Pursuant to 18 U.S.C. § 3161(h)(3)(A), the Court GRANTS the

motion to continue (Doc. 481). The Court CONTINUES the jury trial scheduled for

April 18, 2011 to Monday, July 11, 2011, at 9:00 a.m.

              As noted in previous Orders, co-defendants Sandra Clarke and Juan

Solis still remain fugitives and have not been arraigned. Because the Speedy Trial

clock does not begin to run until the last co-defendant is arraigned, the 70-day

window for conducting this trial has not yet come into play under the Speedy Trial

Act. See United States v. Larson, 417 F.3d 741, 745 n.1(7th Cir. 2005)(“In the

typical joint trial, the Speedy Trial clock begins when the last codefendant is

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arraigned.”)(citing United States v. Baskin-Bey, 45 F.3d 200, 203 (7th Cir. 1995);

Henderson v. United States, 476 U.S. 321, 323 n.2 (1986); 18 U.S.C. § 3161(h)(7));

United States v. Souffront, 338 F.3d 809, 835 (7th Cir. 2003)(The Court found that

the seventy-day clock commenced the day a fugitive – also the final co-defendant in

the case - was arraigned). Thus, there is no need to account for excluded time due

to trial delays, such as when a trial is continued.

             Should either party believe that a witness will be required to travel on

the Justice Prisoner and Alien Transportation System (JPATS) in order to testify at

the trial of this case, a writ should be requested at least two months in advance.

             IT IS SO ORDERED.

             Signed this 4th day of April, 2011.
                                                                     Digitally signed by
                                                                     David R. Herndon
                                                                     Date: 2011.04.04
                                                                     14:47:10 -05'00'

                                                       Chief Judge
                                                       United States District Court




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